Case 3:90-cr-30089-DRH      Document 337     Filed 03/23/09    Page 1 of 3    Page ID #22




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 vs.

 AARON HALL,

 Defendant.                                                   No. 90-CR-30089-DRH


                            MEMORANDUM and ORDER

 HERNDON, Chief Judge:

              Pending before the Court is Hall’s motion to reduce the term of

 imprisonment under Title 18, U.S.C. 3582(c)(2) (Doc. 335). Hall argues that the

 Court should reduce his sentence because in 1993, the Sentencing Commission

 amended the commentary to U.S.S.G. Section 3B1.1 “to specify that in order to

 receive this enhancement the defendant must have organized, led, manage, or

 supervised at least one other participant of the criminal activity.” and under the facts

 of this case he was not entitled to the enhancement. Based on the following, the

 Court dismisses the motion for lack of jurisdiction.

              Once a district court enters final judgment it lacks jurisdiction to

 continue to hear related issues, except to the extent authorized by statute or rule.

 See Carlisle v. United States, 517 U.S. 416 (1996). 18 U.S.C. § 3582 defines

 the circumstances under which district courts may modify sentences and otherwise

 prohibits district courts from doing so, unless “expressly permitted by statute or by

                                       Page 1 of 3
Case 3:90-cr-30089-DRH    Document 337     Filed 03/23/09   Page 2 of 3   Page ID #23




 Rule 35 of the Federal Rules of Criminal Procedure;” 18 U.S.C. § 3582(C)(1)(B).

 Section 3582(c)(2) provides:

       in the case of a defendant who has been sentenced to a term of
       imprisonment based on a sentencing range that has subsequently been
       lowered by the Sentencing Commission pursuant to 28 U.S.C. 944(o),
       upon motion of the defendant or the Director of the Bureau of Prisons,
       or on its own motion, the court may reduce the term of imprisonment,
       after considering the factors set forth in section 3553(a) to the extent
       that they are applicable, if such a reduction is consistent with
       applicable policy statements issued by the Sentencing Commission.

 18 U.S.C. § 3582(c)(2) (emphasis added); see United States v. Tidwell, 178

 F.3d 946, 949 (7th Cir. 1999).

             The Court finds that Hall is not entitled to relief under § 3582(c)(2).

 None of the bases set forth in section 3582 for modification of a sentence is

 applicable here.   Section 1.B1.10 of the United States Sentencing Guidelines

 (“U.S.S.G.”) is the relevant “policy statement” here. That section specifically and

 exhaustively list the amendments whose retroactive application under section

 3582(c)(2) is authorized. See U.S.S.G. §1B1.10(c). It further provides that, “[i[f

 none of the amendments listed in subsection (c) is applicable, a reduction in the

 defendant’s term of imprisonment under 18 U.S.C. § 3582(c)(2) is not consistent

 with this policy statement and thus is not authorized.” U.S.S.G. § 1B1.10(a).

             Here, Hall is referring to Amendment 500 which amended the

 application notes to U.S.S.G. § 3B1.1 and went into effect on November 1, 1993

 (after Hall’s December 18, 1991 sentencing).      Amendment 500 does not apply

 retroactively pursuant to section § 3582 because it is not included in section


                                     Page 2 of 3
Case 3:90-cr-30089-DRH    Document 337     Filed 03/23/09   Page 3 of 3     Page ID #24




 1B1.10(c)’s list of retroactively applicable amendments. Therefore, this Court is

 without jurisdiction to entertain Hall’s motion and neither 18 U.S.C. § 3582 nor the

 amended U.S.S.G. § 3B1.1 provides any basis for the requested modification of

 Hall’s sentence. See, e.g., Ebbole v. United States, 8 F.3d 530, 539 (7th Cir.

 1993)(declining to apply U.S.S.G. § 3E1.1 retroactively on grounds that

 amendment to section did not appear in list of amendments in section

 1B1.10(d)) .

             Accordingly, the Court dismisses for lack of jurisdiction Hall’s motion

 to reduce the term of imprisonment under Title 18, U.S.C., Section 3582(c)(2)(Doc.

 335).

             IT IS SO ORDERED.

             Signed this 23rd day of March, 2009.



                                                    /s/     DavidRHer|do|
                                                    Chief Judge
                                                    United States District Court




                                     Page 3 of 3
